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 5 Attorney for Zoya Belov

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 7
                                     UNITED STATES DISTRICT COURT
 8
                                    EASTERN DISTRICT OF CALIFORNIA
 9

10 UNITED STATES OF AMERICA,                       )   CASE NO. CR 2:08-427 - MCE
                                                   )
11                                Plaintiff,       )
                                                   )
12                                                 )
     v.                                            )
13                                                 )   STIPULATION AND ORDER
                                                   )   CONTINUING DATE FOR JUDGEMENT
14 ZOYA BELOV,                                     )   AND SENTENCING
                                                   )
15                                Defendant.       )
                                                   )
16 __________________________________              )

17

18          IT IS HEREBY STIPULATED by and between the parties hereto through their respective

19 counsel, Phil Ferrari, Assistant United States Attorney, attorney for plaintiff and Kyle Knapp, attorney for

20 defendant, ZOYA BELOV, that the current hearing date of January 5, 2012 be vacated and the matter be

21 re-set for May 10, 2012 at 9:00 am. Good cause for the continuance is due to defendant’s continued

22 cooperation under the plea agreement, the potential she may be called as a witness in pending cases and

23 to afford counsel additional time to provide mitigation evidence to probation.

24 Dated: December 20, 2011                                      Respectfully submitted.

25                                                                 /s/ Kyle R. Knapp
                                                                 Kyle R. Knapp
26                                                               Attorney for Defendant, Zoya Belov

27 Dated: December 20, 2011                                      Respectfully submitted.

28                                                                 /s/ Phil Ferrari
                                                                 Phil Ferrari
                                                                 Assistant U.S. Attorney
                                                                 Attorney for Plaintiff
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 1                                                 ORDER

 2         GOOD CAUSE APPEARING, and pursuant to the stipulation of the parties, the January 5, 2012

 3 hearing is vacated and the matter is re-set for judgement and sentencing on May 10, 2012 at 9:00am.

 4         IT IS SO ORDERED.

 5
     Dated: January 4, 2012
 6
                                                    ________________________________
 7                                                  MORRISON C. ENGLAND, JR.
                                                    UNITED STATES DISTRICT JUDGE
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